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                            UNITED STATES BANKRUPTCY COURT FOR
                             THE WESTERN DISTRICT OF WISCONSIN


In Re:                                                       In Bankruptcy No:

ISRAEL MCKINNEY and
JENNIFER MCKINNEY

                         Debtors.                                   Case No: 22-11558


   ORDER GRANTING MOTION TO EXTEND TIME TO COMPLY WITH COURT
     ORDER (DOCKET #144) UP AND THROUGH UNTIL OCTOBER 20, 2023


         The above named matter having come on pursuant to a Motion to Extend Time to comply with the court

order (docket #144) with the Debtors requesting an additional fourteen days to file a modified plan and updated

budget pursuant to the statements contained in the Motion,

         IT IS ORDERED AS FOLLOWS:

         1.      The Debtors shall file a modified plan and updated budget on or before October 20, 2023.

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